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                                                                                                       TOCHE, and WAINIE
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                                                                                                 12                                     UNITED STATES DISTRICT COURT
                                                           TELEPHONE: (707) 427-3998
                                                              ATTORNEYS AT LAW




                                                                                                 13                                     EASTERN DISTRICT OF CALIFORNIA

                                                                                                 14

                                                                                                 15      Estate of WILLIAM SCHMITZ, deceased, by Case No.: 2:20-CV-0195 KJM CKD
                                                                                                         and through THOMAS J. SCHMITZ and
                                                                                                 16      DIANNE MALLIA, as Successors in Interest; JOINT STATEMENT RE MOTION FOR
                                                                                                         THOMAS SCHMITZ, Individually; and         PROTECTIVE ORDER
                                                                                                 17      DIANNE MALLIA, Individually,

                                                                                                 18                       Plaintiffs,

                                                                                                 19              vs.

                                                                                                 20      ASMAN, et al.,

                                                                                                 21                       Defendants.

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                                                                                                        Joint Statement Re Mtn for Protective Order
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                                                                                                  1               Plaintiffs Dianne Mallia and Thomas Schmitz, (“Plaintiffs”) and Moving Defendants

                                                                                                  2    hereby submit to the Court the Following Joint Statement regarding the remaining areas of disputes

                                                                                                  3    on Defendants’ Pending Motion for Protective Order (ECF No. 323) pursuant to the Court’s Minute

                                                                                                  4    Order (ECF No. 333) dated January 17, 2024. Attached hereto as Exhibit A is a copy of the

                                                                                                  5    Objections to Plaintiffs’ Subpoena for Document production served by Michael Golding, M.D.

                                                                                                  6                                             AREAS OF AGREEMENT1

                                                                                                  7               While Plaintiffs and Defendants disagree as to the relevancy of the First Golding Report, it

                                                                                                  8    has been made public in its redacted form and plaintiffs do not seek to obtain an unredacted version.

                                                                                                  9    Thus, the production of the First Golding Report is not at issue in this Motion.
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                                                                                                 10               While Plaintiffs and Defendants disagree as to the relevancy of the Second Golding Report,
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                                                                                                 11    Plaintiffs agree as of now to await on the Coleman Court’s decision on what redactions, if any, will

                                                                                                 12    be ordered before it is made publicly accessible. Thus the production of the Second Golding Report
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                                                                                                 13    is not at issue in this Motion.

                                                                                                 14                                                 AREAS OF DISPUTE

                                                                                                 15               1.      The Golding Investigatory File
                                                                                                 16                       a.       Defendants’ position:
                                                                                                 17               Lack of relevancy and disproportionate to the needs of this case. The Investigatory File

                                                                                                 18    submitted by Dr. Golding to Charles Stevens, Esq. of Gibson, Dunn & Crutcher LLP, appointed by

                                                                                                 19    the Coleman Court as a neutral expert, is irrelevant to the issues in this case. Mr. Stevens was tasked
                                                                                                 20    to address specific issues pertinent to, whether the Coleman defendants intentionally misled the

                                                                                                 21    Court or the Special Master regarding their report of remediation measures, as claimed in the First

                                                                                                 22    Golding Report. Dr. Golding and the Coleman defendants submitted documentation to Mr. Stevens

                                                                                                 23    during his investigation of the issues within his mandate. None of the issues investigated are

                                                                                                 24    pertinent to the case at hand. (ECF No. 323, pp. 38-49.) And in general, measuring and reporting

                                                                                                 25    on remedial measures is the subject matter of Coleman case and is not at issue here. Moreover, both

                                                                                                 26    the neutral expert report and the Coleman’s Court findings on the First Golding Report, are publicly

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                                                                                                        Areas of Agreement are included for the benefit of clarity and as a notice for the subpoenaed third-party Michael
                                                                                                 28    Golding, M.D.
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                                                                                                           Joint Statement Re Mtn for Protective Order
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                                                                                                  1    accessible on the Coleman Court’s docket.

                                                                                                  2            Unfair Prejudice and Potentially priveleged Information. The Investigatory Report was not

                                                                                                  3    provided to the Coleman defendants during the neutral expert investigation. The neutral expert

                                                                                                  4    investigation concluded, the Coleman Court held evidentiary hearings and made findings and

                                                                                                  5    orders. The production of this file would improperly cause a re-litigation of matters that are not

                                                                                                  6    before this Court. Furthermore, to what extent these files contains protected third-party private

                                                                                                  7    medical information; attorney-client privileged information such as communications with attorneys

                                                                                                  8    from the CDCR Office of Legal Affairs, information regarding Budget Concept Statements or non-

                                                                                                  9    final Budget Change Proposals protected from disclosure under the deliberative process privilege;
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                                                                                                 10    names and contact information (telephone numbers and email addresses) of current and former non-
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                                                                                                 11    party CDCR employees protected from disclosure by their constitutional right to privacy.

                                                                                                 12            Defendants oppose plaintiffs’ request to use the subject motion for protective order as a
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                                                                                                 13    vehicle for an advisory opinion on issues not before this Court. Furthermore, “[a] court may take

                                                                                                 14    judicial notice of the existence of matters of public record, such as a prior order or decision, but not

                                                                                                 15    the truth of the facts cited therein.” Marsh v. San Diego Cty., 432 F. Supp. 2d 1035, 1043 (S.D.

                                                                                                 16    Cal. 2006) (citing to Lee v. City of Los Angeles, 250 F.3d 668, 689-690 (9th Cir. 2001).

                                                                                                 17            b.      Plaintiffs’ Position:
                                                                                                 18            The relevancy of the Golding Report and investigatory file is detailed in the 4AC and

                                                                                                 19    plaintiffs’ opposition to the motion for protective order. In brief, the files that support Dr. Golding’s
                                                                                                 20    report certainly may reveal specific knowledge of Defendants regarding their knowledge of

                                                                                                 21    conditions that contributed to the suffering and death of William. The overlap between the

                                                                                                 22    individual Constitutional rights of William, a mentally ill Coleman member, and the context of the

                                                                                                 23    Coleman case and Dr. Goldings concerns are undeniable. Plaintiffs should not be precluded from

                                                                                                 24    discovering information that shows the knowledge of individual Defendants to conditions that

                                                                                                 25    create the environment in which William was treated for his mental illness. If Dr. Golding

                                                                                                 26    informed others of conditions that were dangerous to the well-being of mentally-ill, like William,

                                                                                                 27    regardless if it was for the purpose of how Coleman Defendants measured compliance with

                                                                                                 28    remedial orders, than they should be produced. At minimum, all responsive documents to all
                                                                                                                                                      2
                                                                                                        Joint Statement Re Mtn for Protective Order
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                                                                                                  1    RFPs that Dr. Golding has in his possession, custody and control should undergo in camera

                                                                                                  2    review by this Court to determine which records should be produced.

                                                                                                  3            In addition, as requested in the Opposition, clarification from this Court on what Coleman

                                                                                                  4    matters are considered settled and how it interprets orders from Coleman would be very helpful for

                                                                                                  5    potentially limiting discovery. For example, does this Court find that named Coleman Defendants

                                                                                                  6    were the ones responsible for enacting the mandates in Coleman such as decreasing the psychiatry
                                                                                                       vacancy rate to less than 10%? Does this Court find that Coleman shows the named Coleman
                                                                                                  7
                                                                                                       Defendants have clearly not reduced the vacancy to the required rate and therefore meeting the
                                                                                                  8
                                                                                                       deliberate indifference claim that a supervisory official "knew of unconstitutional conditions and
                                                                                                  9
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                                                                                                       'culpable actions of his subordinates' but failed to act amounts to 'acquiescence in the
                                                                                                 10
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                                                                                                       unconstitutional conduct of his subordinates' and is 'sufficient to state a claim of supervisory
                                                                                                 11
                                                                                                       liability.'" Keates v. Koile, 883 F.3d 1228, 1243 (9th Cir. 2018) (quoting Starr, 652 F.3d at 1208)?
                                                                                                 12
                                                           TELEPHONE: (707) 427-3998




                                                                                                               2.       Individual Requests for Production
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                                                                                                 13

                                                                                                 14                    Request for Production Nos. 1 -2, 30-31

                                                                                                 15            Defendants contend that plaintiffs waived opposition to defendants’ objections to these

                                                                                                 16    requests because plaintiffs failed to submit any such arguments in their opposition papers.

                                                                                                 17    Moreover, requests 1 and 2 are irrelevant, disproportionate to the needs of this case, potentially

                                                                                                 18    requesting priveleged information, and defendants stand by their position as far as the dispute

                                                                                                 19    remains about the Golding Investigatory file. Requests 30 and 31 improperly seek Dr. Golding to

                                                                                                 20    make a legal conclusion as to whether a party in this action has violated the law and to produce

                                                                                                 21    documents supporting this legal conclusion.

                                                                                                 22            Plaintiffs contend these requests are directly relevant to the knowledge of individual

                                                                                                 23    defendants of conditions that created an environment in which William would be likely to receive

                                                                                                 24    below standard of care and unconstitutional level of mental health care.

                                                                                                 25                    Request for Production No. 5

                                                                                                 26            Defendants request that information produced should be limited to “concerns” by

                                                                                                 27    Decedent’s treating psychiatrists for the period August 30, 2015 - January 21, 2019 in relation to

                                                                                                 28    their treatment of Decedent. Defendants contend the request is overly broad as to time and scope
                                                                                                                                                      3
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                                                                                                  1    and thus seeks information disproportionate to the needs of this case and potentially includes

                                                                                                  2    information that is protected by the privacy right of non-parties and by the attorney client privilege

                                                                                                  3            Plaintiffs contend the request should not be limited to William’s treating psychiatrists in

                                                                                                  4    relation to their treatment. The 4Ac alleges systemic conditions that supervisors were aware of

                                                                                                  5    but did not fix. If Dr. Golding has documents relating to concerns of CDCR psychiatrists not

                                                                                                  6    being able to meet a community standard of care while working within CDCR than they should

                                                                                                  7    be produced

                                                                                                  8                   Request for Production Nos. 6-7

                                                                                                  9            Defendants request that information produced be limited to August 30, 2015 - January 21,
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                                                                                                 10    2019 and to concerns regarding Mule Creek State Prison and to the field of mental health care
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                                                                                                 11    provision, based on the above stated contentions.

                                                                                                 12            Plaintiffs request the request should not be limited to William’s treating psychiatrists in
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                                                                                                 13    relation to their treatment. The 4Ac alleges systemic conditions that supervisors were aware of but

                                                                                                 14    did not fix. If Dr. Golding has documents relating to concerns of CDCR psychiatrists not being able

                                                                                                 15    to meet a community standard of care while working within CDCR than they should be produced

                                                                                                 16                   Requests for Production Nos. 8-9, 12, 27

                                                                                                 17            Defendants contend that these requests are overbroad and seek information not proportional

                                                                                                 18    to the needs of this case, and irrelevant. Again, plaintiffs are improperly trying to create a second

                                                                                                 19    forum to litigate CDCR compliance with Coleman remedial orders.
                                                                                                 20            Plaintiffs contend these requests are directly relevant to the knowledge of individual

                                                                                                 21    defendants of conditions that created an environment in which William would be likely to receive

                                                                                                 22    below standard of care and unconstitutional level of mental health care.

                                                                                                 23                   Request for Production Nos. 14-15

                                                                                                 24            Defendants contend that information sought improperly encompasses protected third party

                                                                                                 25    private medical information, is overbroad in time and scope, should be limited to such relevant to

                                                                                                 26    Mule Creek State Prison in 2018 (decedent was transferred from EOP to CCCM in spring of 2018.).

                                                                                                 27            Plaintiffs contend documents related to “any potential pressure felt by individuals to transfer

                                                                                                 28    of mentally ill inmates from EOP to CCCMS” and related to “mentally ill individuals being
                                                                                                                                                 4
                                                                                                        Joint Statement Re Mtn for Protective Order
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                                                                                                  1    removed from psychiatric medicines due to communication error” are both directly relevant to

                                                                                                  2    William’s case as described in the 4AC and should all be produced.

                                                                                                  3                   Request for Production No. 26

                                                                                                  4            Defendants seek to preclude production of any communications after Decedent’s death that

                                                                                                  5    are protected from disclosure by the attorney-client privilege and common-defenses privilege,

                                                                                                  6    communication with the Office of the Attorney General and the Office of Legal Affairs regarding

                                                                                                  7    current or pending litigation.

                                                                                                  8            Plaintiffs note that Dr. Golding is in possession of 546 documents responsive to this

                                                                                                  9    request that is related to communications sent or received by Dr. Golding on the health care
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                                                                                                 10    services for William. These should all be disclosed to Plaintiffs and Plaintiffs’ request that any of
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                                                                                                 11    these specific documents withheld for privilege have an in camera be review by this Court.

                                                                                                 12                   Request for Production No. 28
                                                           TELEPHONE: (707) 427-3998
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                                                                                                 13            Defendants contend that the request seeks irrelevant information and is disproportionate to

                                                                                                 14    the needs of this case. The request is unlimited in time and would cover information regarding

                                                                                                 15    staffing rate at institutions other than Mule Creek State Prison and per the acts staffing shortage

                                                                                                 16    have no relationship to decedent’s passing.

                                                                                                 17            Plaintiffs contend the understaffing of psychiatrists directly resulted in the suffering and

                                                                                                 18    death of William due to the inadequate quality and frequency of care that was a result of the

                                                                                                 19    understaffing making this both relevant and proportionate to the needs of this case.
                                                                                                 20                   Requests for Production Nos. 3, 4, 13, 16 and 17

                                                                                                 21            Defendants request that the scope of the request be limited to production of the copies of

                                                                                                 22    relevant CDCR policies and procedures, since the request as currently phrased is overbroad and

                                                                                                 23    encompasses documents protected by attorney privilege, work protect doctrine and physician

                                                                                                 24    patient privileges. Limitation of the scope would greatly reduce the need for screening in which

                                                                                                 25    defense counsel in entitled to be involved as to priveleged information pertaining to their clients.

                                                                                                 26            Plaintiffs agree that only relevant, non-privileged documents are to be produced in and

                                                                                                 27    request that the determination of privilege be decided by Dr. Golding and his counsel with anything

                                                                                                 28    withheld described as required by Fed Rules of Civ Proc. 45.
                                                                                                                                                       5
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                                                                                                  1    Dated: January _30__, 2024                 DIANNE MALLIA
                                                                                                  2

                                                                                                  3                                               By:_______________________
                                                                                                                                                        Dianne Mallia
                                                                                                  4

                                                                                                  5    Dated: January __30__, 2024                THOMAS J. SCHMITZ
                                                                                                  6
                                                                                                                                                  By: _______________________
                                                                                                  7
                                                                                                                                                      Thomas J. Schmitz
                                                                                                  8
                                                                                                       Dated: January ____, 2024                  MCNAMARA, AMBACHER, WHEELER,
                                                                                                  9                                               HIRSIG & GRAY LLP
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                                                                                                 10
                                                 639 KENTUCKY STREET, FAIRFIELD, CA 94533-5530




                                                                                                                                                  By:      /s/ Maria Zhurnalova-Juppunov
                                                                                                 11                                                     Peter J. Hirsig
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                                                                                                 14                                                     HEATLEY, J. JOHNSON, R. JOHNSON, LEIDNER,
                                                                                                                                                        PONCIANO, RAMKUMAR, REKART, ROBINSON,
                                                                                                 15                                                     RUDAS, M. SMITH, C. SMITH, TIEBROCK,
                                                                                                                                                        TOCHE, and WAINE
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                                                                                                        Joint Statement Re Mtn for Protective Order
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                Exhibit “A”
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 6    ATTORNEYS FOR
      Third Party Michael Golding, MD
 7
                                  IN THE UNITED STATES DISTRICT COURT
 8
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     THOMAS SCHITZ,                                    ) Case No.: 2-20-cv-00195DJC-CKD
11                                                     )
                     Plaintiff,                        ) MICHAEL GOLDING, MD RESPONSE
12                                                     )
           v.                                          ) TO DOCUMENT SUBPOENA
13                                                     )
   ADAM, ASMAN, ET AL                                  )
14          Defendants,                                )
                                                       )
15                                                     )
                                                       )
16                                                     )
                                                       )
17                                                     )
                                                       )
18
      PROPOUNDING PARTY:                     THOMAS SCHITZ
19
      RESPONDING PARTY:                      MICHAEL GOLDING, MD
20

21                 RESPONSE TO REQUESTS FOR PRODUCTION OF DOCUMENTS

22    RESPONSE TO REQUEST FOR PRODUCTION NO. 1:

23           Golding objects to this request on the basis that it is overbroad. Golding objects that the

24    request calls for attorney client privilege and attorney work product. Golding objects that the

25    request is compound and vague and ambiguous.

26           Subject to and without waiving these objections, Golding responds as follows:

27              Subject to the determination of the Court on Defendants’ Motion for Protective Order,

28    Golding will produce non-privileged documents in his possession, custody and control.


      Michael Golding, MD Response to Request for Production of Documents
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 1     RESPONSE TO REQUEST FOR PRODUCTION NO. 2:
 2            Golding objects to this request on the basis that it is overbroad. Golding objects that the
 3     request calls for attorney client privilege and attorney work product. Golding objects that the
 4     request is compound and vague and ambiguous.
 5            Subject to and without waiving these objections, Golding responds as follows:
 6     Subject to the determination of the Court on Defendants’ Motion for Protective Order, Golding
 7     will produce non-privileged documents in his possession, custody and control. Golding has
 8     communicated that he has documents related to the Golding Report and the second Golding
 9     Report, as well as materials provided to the agents for the federal court, as well as transcripts and
10     orders of those proceedings. Golding has communicated that he will produce the redacted maters
11     as ordered by the federal court in Coleman related to the first “Golding Report.” The Court in
12     Coleman has not ruled on the proper redactions, if any, for materials produced to the Court in the
13     Second Golding Report. Golding has asked the parties for their positions regarding redactions
14     absent the Colemen Court’s order. Golding would also welcome an in camera review by this
15     Court to determine which records should be produced by Dr. Golding.
16     RESPONSE TO REQUEST FOR PRODUCTION NO. 3:
17            Golding objects to this request on the basis that it is overbroad. Golding objects that the
18     request calls for attorney client privilege and attorney work product. Golding objects that the
19     request is compound and vague and ambiguous.
20            Subject to and without waiving these objections, Golding responds as follows: Subject to
21     the determination of the Court on Defendants’ Motion for Protective Order, Golding will produce
22     non-privileged documents in his possession, custody and control. Golding is also informed that
23     CDCR was to produce these documents.
24     RESPONSE TO REQUEST FOR PRODUCTION NO. 4:
25             Golding objects to this request on the basis that it is overbroad. Golding objects that the
26     request calls for attorney client privilege and attorney work product. Golding objects that the
27     request is compound and vague and ambiguous. Golding objects to the extent that this request
28     seeks confidential patient information other than Mr. Schmitz, without Dr. Golding being

       Michael Golding, MD Response to Request for Production of Documents
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 1     required to produce said records by a Court. Subject to and without waiving these objections,
 2     Golding responds as follows:
 3            Subject to the determination of the Court on Defendants’ Motion for Protective Order,
 4     Golding will produce non-privileged documents in his possession, custody and control. Golding
 5     has communicated that he has documents related to the Golding Report and the second Golding
 6     Report, as well as materials provided to the agents for the federal court, as well as transcripts and
 7     orders of those proceedings. Golding has communicated that he will produce the redacted maters
 8     as ordered by the federal court in Coleman related to the first “Golding Report.” The Court in
 9     Coleman has not ruled on the proper redactions, if any, for materials produced to the Court in the
10     Second Golding Report. Golding has asked the parties for their positions regarding redactions
11     absent the Colemen Court’s order. Golding would also welcome an in camera review by this
12     Court to determine which records should be produced by Dr. Golding.
13     RESPONSE TO REQUEST FOR PRODUCTION NO. 5:
14             Golding objects to this request on the basis that it is overbroad. Golding objects that the
15     request calls for attorney client privilege and attorney work product. Golding objects that the
16     request is compound and vague and ambiguous. Golding objects to the extent that this request
17     seeks confidential patient information other than Mr. Schmitz, without Dr. Golding being
18     required to produce said records by a Court. Subject to and without waiving these objections,
19     Golding responds as follows:
20            Subject to the determination of the Court on Defendants’ Motion for Protective Order,
21     Golding will produce non-privileged documents in his possession, custody and control. Golding
22     has communicated that he has documents related to the Golding Report and the second Golding
23     Report, as well as materials provided to the agents for the federal court, as well as transcripts and
24     orders of those proceedings. Golding has communicated that he will produce the redacted maters
25     as ordered by the federal court in Coleman related to the first “Golding Report.” The Court in
26     Coleman has not ruled on the proper redactions, if any, for materials produced to the Court in the
27     Second Golding Report. Golding has asked the parties for their positions regarding redactions
28     absent the Colemen Court’s order. Golding would also welcome an in camera review by this

       Michael Golding, MD Response to Request for Production of Documents
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 1     Court to determine which records should be produced by Dr. Golding.
 2     RESPONSE TO REQUEST FOR PRODUCTION NO. 6:
 3             Golding objects to this request on the basis that it is overbroad. Golding objects that the
 4     request calls for attorney client privilege and attorney work product. Golding objects that the
 5     request is compound and vague and ambiguous. Golding objects to the extent that this request
 6     seeks confidential patient information other than Mr. Schmitz, without Dr. Golding being
 7     required to produce said records by a Court. Subject to and without waiving these objections,
 8     Golding responds as follows:
 9            Subject to the determination of the Court on Defendants’ Motion for Protective Order,
10     Golding will produce non-privileged documents in his possession, custody and control. Golding
11     has communicated that he has documents related to the Golding Report and the second Golding
12     Report, as well as materials provided to the agents for the federal court, as well as transcripts and
13     orders of those proceedings. Golding has communicated that he will produce the redacted maters
14     as ordered by the federal court in Coleman related to the first “Golding Report.” The Court in
15     Coleman has not ruled on the proper redactions, if any, for materials produced to the Court in the
16     Second Golding Report. Golding has asked the parties for their positions regarding redactions
17     absent the Colemen Court’s order. Golding would also welcome an in camera review by this
18     Court to determine which records should be produced by Dr. Golding.
19     RESPONSE TO REQUEST FOR PRODUCTION NO. 7:
20             Golding objects to this request on the basis that it is overbroad. Golding objects that the
21     request calls for attorney client privilege and attorney work product. Golding objects that the
22     request is compound and vague and ambiguous. Golding objects to the extent that this request
23     seeks confidential patient information other than Mr. Schmitz, without Dr. Golding being
24     required to produce said records by a Court. Subject to and without waiving these objections,
25     Golding responds as follows:
26            Subject to the determination of the Court on Defendants’ Motion for Protective Order,
27     Golding will produce non-privileged documents in his possession, custody and control. Golding
28     has communicated that he has documents related to the Golding Report and the second Golding

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 1     Report, as well as materials provided to the agents for the federal court, as well as transcripts and
 2     orders of those proceedings. Golding has communicated that he will produce the redacted maters
 3     as ordered by the federal court in Coleman related to the first “Golding Report.” The Court in
 4     Coleman has not ruled on the proper redactions, if any, for materials produced to the Court in the
 5     Second Golding Report. Golding has asked the parties for their positions regarding redactions
 6     absent the Colemen Court’s order. Golding would also welcome an in camera review by this
 7     Court to determine which records should be produced by Dr. Golding.
 8     RESPONSE TO REQUEST FOR PRODUCTION NO. 8:
 9             Golding objects to this request on the basis that it is overbroad. Golding objects that the
10     request calls for attorney client privilege and attorney work product. Golding objects that the
11     request is compound and vague and ambiguous. Golding objects to the extent that this request
12     seeks confidential patient information other than Mr. Schmitz, without Dr. Golding being
13     required to produce said records by a Court. Subject to and without waiving these objections,
14     Golding responds as follows:
15            Subject to the determination of the Court on Defendants’ Motion for Protective Order,
16     Golding will produce non-privileged documents in his possession, custody and control. Golding
17     has communicated that he has documents related to the Golding Report and the second Golding
18     Report, as well as materials provided to the agents for the federal court, as well as transcripts and
19     orders of those proceedings. Golding has communicated that he will produce the redacted maters
20     as ordered by the federal court in Coleman related to the first “Golding Report.” The Court in
21     Coleman has not ruled on the proper redactions, if any, for materials produced to the Court in the
22     Second Golding Report. Golding has asked the parties for their positions regarding redactions
23     absent the Colemen Court’s order. Golding would also welcome an in camera review by this
24     Court to determine which records should be produced by Dr. Golding.
25     RESPONSE TO REQUEST FOR PRODUCTION NO. 9:
26             Golding objects to this request on the basis that it is overbroad. Golding objects that the
27     request calls for attorney client privilege and attorney work product. Golding objects that the
28     request is compound and vague and ambiguous. Golding objects to the extent that this request

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 1     seeks confidential patient information other than Mr. Schmitz, without Dr. Golding being
 2     required to produce said records by a Court. Subject to and without waiving these objections,
 3     Golding responds as follows:
 4            Subject to the determination of the Court on Defendants’ Motion for Protective Order,
 5     Golding will produce non-privileged documents in his possession, custody and control. Golding
 6     has communicated that he has documents related to the Golding Report and the second Golding
 7     Report, as well as materials provided to the agents for the federal court, as well as transcripts and
 8     orders of those proceedings. Golding has communicated that he will produce the redacted maters
 9     as ordered by the federal court in Coleman related to the first “Golding Report.” The Court in
10     Coleman has not ruled on the proper redactions, if any, for materials produced to the Court in the
11     Second Golding Report. Golding has asked the parties for their positions regarding redactions
12     absent the Colemen Court’s order. Golding would also welcome an in camera review by this
13     Court to determine which records should be produced by Dr. Golding.
14

15     RESPONSE TO REQUEST FOR PRODUCTION NO. 10:
16             Golding objects to this request on the basis that it is overbroad. Golding objects that the
17     request calls for attorney client privilege and attorney work product. Golding objects that the
18     request is compound and vague and ambiguous. Golding objects to the extent that this request
19     seeks confidential patient information other than Mr. Schmitz, without Dr. Golding being
20     required to produce said records by a Court. Subject to and without waiving these objections,
21     Golding responds as follows:
22            Subject to the determination of the Court on Defendants’ Motion for Protective Order,
23     Golding will produce non-privileged documents in his possession, custody and control. Golding
24     has communicated that he has documents related to the Golding Report and the second Golding
25     Report, as well as materials provided to the agents for the federal court, as well as transcripts and
26     orders of those proceedings. Golding has communicated that he will produce the redacted maters
27     as ordered by the federal court in Coleman related to the first “Golding Report.” The Court in
28     Coleman has not ruled on the proper redactions, if any, for materials produced to the Court in the

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 1     Second Golding Report. Golding has asked the parties for their positions regarding redactions
 2     absent the Colemen Court’s order. Golding would also welcome an in camera review by this
 3     Court to determine which records should be produced by Dr. Golding.
 4     RESPONSE TO REQUEST FOR PRODUCTION NO. 11:
 5             Golding objects to this request on the basis that it is overbroad. Golding objects that the
 6     request calls for attorney client privilege and attorney work product. Golding objects that the
 7     request is compound and vague and ambiguous. Golding objects to the extent that this request
 8     seeks confidential patient information other than Mr. Schmitz, without Dr. Golding being
 9     required to produce said records by a Court. Golding is unclear as to the scope of this request and
10     would to meet and confer regarding the scope of this request.
11            Golding has communicated that he has documents related to the Golding Report and the
12     second Golding Report, as well as materials provided to the agents for the federal court, as well
13     as transcripts and orders of those proceedings. Golding has communicated that he will produce
14     the redacted maters as ordered by the federal court in Coleman related to the first “Golding
15     Report.” The Court in Coleman has not ruled on the proper redactions, if any, for materials
16     produced to the Court in the Second Golding Report. Golding has asked the parties for their
17     positions regarding redactions absent the Colemen Court’s order. Golding would also welcome
18     an in camera review by this Court to determine which records should be produced by Dr.
19     Golding.
20     RESPONSE TO REQUEST FOR PRODUCTION NO. 12:
21             Golding objects to this request on the basis that it is overbroad. Golding objects that the
22     request calls for attorney client privilege and attorney work product. Golding objects that the
23     request is compound and vague and ambiguous. Golding objects to the extent that this request
24     seeks confidential patient information other than Mr. Schmitz, without Dr. Golding being
25     required to produce said records by a Court. Subject to and without waiving these objections,
26     Golding responds as follows:
27            Subject to the determination of the Court on Defendants’ Motion for Protective Order,
28     Golding will produce non-privileged documents in his possession, custody and control. Golding

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 1     has communicated that he has documents related to the Golding Report and the second Golding
 2     Report, as well as materials provided to the agents for the federal court, as well as transcripts and
 3     orders of those proceedings. Golding has communicated that he will produce the redacted maters
 4     as ordered by the federal court in Coleman related to the first “Golding Report.” The Court in
 5     Coleman has not ruled on the proper redactions, if any, for materials produced to the Court in the
 6     Second Golding Report. Golding has asked the parties for their positions regarding redactions
 7     absent the Colemen Court’s order. Golding would also welcome an in camera review by this
 8     Court to determine which records should be produced by Dr. Golding.
 9     RESPONSE TO REQUEST FOR PRODUCTION NO. 13:
10             Golding objects to this request on the basis that it is overbroad. Golding objects that the
11     request calls for attorney client privilege and attorney work product. Golding objects that the
12     request is compound and vague and ambiguous. Golding objects to the extent that this request
13     seeks confidential patient information other than Mr. Schmitz, without Dr. Golding being
14     required to produce said records by a Court. Subject to and without waiving these objections,
15     Golding responds as follows:
16            Subject to the determination of the Court on Defendants’ Motion for Protective Order,
17     Golding will produce non-privileged documents in his possession, custody and control. Golding
18     has communicated that he has documents related to the Golding Report and the second Golding
19     Report, as well as materials provided to the agents for the federal court, as well as transcripts and
20     orders of those proceedings. Golding has communicated that he will produce the redacted maters
21     as ordered by the federal court in Coleman related to the first “Golding Report.” The Court in
22     Coleman has not ruled on the proper redactions, if any, for materials produced to the Court in the
23     Second Golding Report. Golding has asked the parties for their positions regarding redactions
24     absent the Colemen Court’s order. Golding would also welcome an in camera review by this
25     Court to determine which records should be produced by Dr. Golding.
26     RESPONSE TO REQUEST FOR PRODUCTION NO. 14:
27             Golding objects to this request on the basis that it is overbroad. Golding objects that the
28     request calls for attorney client privilege and attorney work product. Golding objects that the

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 1     request is compound and vague and ambiguous. Golding objects to the extent that this request
 2     seeks confidential patient information other than Mr. Schmitz, without Dr. Golding being
 3     required to produce said records by a Court. Subject to and without waiving these objections,
 4     Golding responds as follows:
 5            Subject to the determination of the Court on Defendants’ Motion for Protective Order,
 6     Golding will produce non-privileged documents in his possession, custody and control. Golding
 7     has communicated that he has documents related to the Golding Report and the second Golding
 8     Report, as well as materials provided to the agents for the federal court, as well as transcripts and
 9     orders of those proceedings. Golding has communicated that he will produce the redacted maters
10     as ordered by the federal court in Coleman related to the first “Golding Report.” The Court in
11     Coleman has not ruled on the proper redactions, if any, for materials produced to the Court in the
12     Second Golding Report. Golding has asked the parties for their positions regarding redactions
13     absent the Colemen Court’s order. Golding would also welcome an in camera review by this
14     Court to determine which records should be produced by Dr. Golding.
15     RESPONSE TO REQUEST FOR PRODUCTION NO. 15:
16             Golding objects to this request on the basis that it is overbroad. Golding objects that the
17     request calls for attorney client privilege and attorney work product. Golding objects that the
18     request is compound and vague and ambiguous. Golding objects to the extent that this request
19     seeks confidential patient information other than Mr. Schmitz, without Dr. Golding being
20     required to produce said records by a Court. Subject to and without waiving these objections,
21     Golding responds as follows:
22            Subject to the determination of the Court on Defendants’ Motion for Protective Order,
23     Golding will produce non-privileged documents in his possession, custody and control. Golding
24     has communicated that he has documents related to the Golding Report and the second Golding
25     Report, as well as materials provided to the agents for the federal court, as well as transcripts and
26     orders of those proceedings. Golding has communicated that he will produce the redacted maters
27     as ordered by the federal court in Coleman related to the first “Golding Report.” The Court in
28     Coleman has not ruled on the proper redactions, if any, for materials produced to the Court in the

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 1     Second Golding Report. Golding has asked the parties for their positions regarding redactions
 2     absent the Colemen Court’s order. Golding would also welcome an in camera review by this
 3     Court to determine which records should be produced by Dr. Golding.
 4     RESPONSE TO REQUEST FOR PRODUCTION NO. 16:
 5             Golding objects to this request on the basis that it is overbroad. Golding objects that the
 6     request calls for attorney client privilege and attorney work product. Golding objects that the
 7     request is compound and vague and ambiguous. Golding objects to the extent that this request
 8     seeks confidential patient information other than Mr. Schmitz, without Dr. Golding being
 9     required to produce said records by a Court. Subject to and without waiving these objections,
10     Golding responds as follows:
11            Subject to the determination of the Court on Defendants’ Motion for Protective Order,
12     Golding will produce non-privileged documents in his possession, custody and control. Golding
13     has communicated that he has documents related to the Golding Report and the second Golding
14     Report, as well as materials provided to the agents for the federal court, as well as transcripts and
15     orders of those proceedings. Golding has communicated that he will produce the redacted maters
16     as ordered by the federal court in Coleman related to the first “Golding Report.” The Court in
17     Coleman has not ruled on the proper redactions, if any, for materials produced to the Court in the
18     Second Golding Report. Golding has asked the parties for their positions regarding redactions
19     absent the Colemen Court’s order. Golding would also welcome an in camera review by this
20     Court to determine which records should be produced by Dr. Golding.
21     RESPONSE TO REQUEST FOR PRODUCTION NO. 17:
22             Golding objects to this request on the basis that it is overbroad. Golding objects that the
23     request calls for attorney client privilege and attorney work product. Golding objects that the
24     request is compound and vague and ambiguous. Golding objects to the extent that this request
25     seeks confidential patient information other than Mr. Schmitz, without Dr. Golding being
26     required to produce said records by a Court. Subject to and without waiving these objections,
27     Golding responds as follows:
28            Subject to the determination of the Court on Defendants’ Motion for Protective Order,

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 1     Golding will produce non-privileged documents in his possession, custody and control. Golding
 2     has communicated that he has documents related to the Golding Report and the second Golding
 3     Report, as well as materials provided to the agents for the federal court, as well as transcripts and
 4     orders of those proceedings. Golding has communicated that he will produce the redacted maters
 5     as ordered by the federal court in Coleman related to the first “Golding Report.” The Court in
 6     Coleman has not ruled on the proper redactions, if any, for materials produced to the Court in the
 7     Second Golding Report. Golding has asked the parties for their positions regarding redactions
 8     absent the Colemen Court’s order. Golding would also welcome an in camera review by this
 9     Court to determine which records should be produced by Dr. Golding.
10     RESPONSE TO REQUEST FOR PRODUCTION NO. 17:
11             Golding objects to this request on the basis that it is overbroad. Golding objects that the
12     request calls for attorney client privilege and attorney work product. Golding objects that the
13     request is compound and vague and ambiguous. Golding objects to the extent that this request
14     seeks confidential patient information other than Mr. Schmitz, without Dr. Golding being
15     required to produce said records by a Court. Subject to and without waiving these objections,
16     Golding responds as follows:
17            Subject to the determination of the Court on Defendants’ Motion for Protective Order,
18     Golding will produce non-privileged documents in his possession, custody and control. Golding
19     has communicated that he has documents related to the Golding Report and the second Golding
20     Report, as well as materials provided to the agents for the federal court, as well as transcripts and
21     orders of those proceedings. Golding has communicated that he will produce the redacted maters
22     as ordered by the federal court in Coleman related to the first “Golding Report.” The Court in
23     Coleman has not ruled on the proper redactions, if any, for materials produced to the Court in the
24     Second Golding Report. Golding has asked the parties for their positions regarding redactions
25     absent the Colemen Court’s order. Golding would also welcome an in camera review by this
26     Court to determine which records should be produced by Dr. Golding.
27     RESPONSE TO REQUEST FOR PRODUCTION NO. 18-24:
28            Request Nos. 18-24 were omitted from the subpoena and thus, Dr. Golding is unable to

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 1     respond to these requests, as they were not provided and served on him. Dr. Golding maintains
 2     all privileges and objections to these requests.
 3     RESPONSE TO REQUEST FOR PRODUCTION NO. 25:
 4             Golding objects to this request on the basis that it is overbroad. Golding objects that the
 5     request calls for attorney client privilege and attorney work product. Golding objects that the
 6     request is compound and vague and ambiguous. Golding objects to the extent that this request
 7     seeks confidential patient information other than Mr. Schmitz, without Dr. Golding being
 8     required to produce said records by a Court. Golding would like to meet and confer regarding the
 9     scope of this request.
10     RESPONSE TO REQUEST FOR PRODUCTION NO. 26:
11            Golding objects that the request calls for attorney client privilege and attorney work
12     product. Subject to and without waiving these objections, Golding responds as follows:
13            Subject to the determination of the Court on Defendants’ Motion for Protective Order,
14     Golding will produce non-privileged documents in his possession, custody and control. Golding
15     possesses 546 pages of documents (with duplicates) provided to him by CDCR on December 7,
16     2023, responsive to this request.
17     RESPONSE TO REQUEST FOR PRODUCTION NO. 26:
18             Golding objects to this request on the basis that it is overbroad. Golding objects that the
19     request calls for attorney client privilege and attorney work product. Golding objects that the
20     request is compound and vague and ambiguous. Golding objects to the extent that this request
21     seeks confidential patient information other than Mr. Schmitz, without Dr. Golding being
22     required to produce said records by a Court. Subject to and without waiving these objections,
23     Golding responds as follows:
24            Subject to the determination of the Court on Defendants’ Motion for Protective Order,
25     Golding would like to meet and confer about the scope of this request. Golding has
26     communicated that he has documents related to the Golding Report and the second Golding
27     Report, as well as materials provided to the agents for the federal court, as well as transcripts and
28     orders of those proceedings. Golding has communicated that he will produce the redacted maters

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 1     as ordered by the federal court in Coleman related to the first “Golding Report.” The Court in
 2     Coleman has not ruled on the proper redactions, if any, for materials produced to the Court in the
 3     Second Golding Report. Golding has asked the parties for their positions regarding redactions
 4     absent the Colemen Court’s order. Golding has also communicated his own personnel
 5     complaints. It is unclear from the request which violations of Coleman mandates are being
 6     sought for what time period. Golding would also welcome an in camera review by this Court to
 7     determine which records should be produced by Dr. Golding.
 8     RESPONSE TO REQUEST FOR PRODUCTION NO. 28:
 9             Golding objects to this request on the basis that it is overbroad. Golding objects that the
10     request calls for attorney client privilege and attorney work product. Golding objects that the
11     request is compound and vague and ambiguous. Golding objects to the extent that this request
12     seeks confidential patient information other than Mr. Schmitz, without Dr. Golding being
13     required to produce said records by a Court. Golding would also like to meet and confer
14     regarding the time frame and scope of this request. Subject to and without waiving these
15     objections, Golding responds as follows:
16            Subject to the determination of the Court on Defendants’ Motion for Protective Order,
17     Golding will produce non-privileged documents in his possession, custody and control. Golding
18     has communicated that he has documents related to the Golding Report and the second Golding
19     Report, as well as materials provided to the agents for the federal court, as well as transcripts and
20     orders of those proceedings. Golding has communicated that he will produce the redacted maters
21     as ordered by the federal court in Coleman related to the first “Golding Report.” The Court in
22     Coleman has not ruled on the proper redactions, if any, for materials produced to the Court in the
23     Second Golding Report. Golding has asked the parties for their positions regarding redactions
24     absent the Colemen Court’s order. Golding would also welcome an in camera review by this
25     Court to determine which records should be produced by Dr. Golding.
26     RESPONSE TO REQUEST FOR PRODUCTION NO. 29:
27             Golding objects to this request on the basis that it is overbroad. Golding objects that the
28     request calls for attorney client privilege and attorney work product. Golding objects that the

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 1     request is compound and vague and ambiguous. Golding objects to the extent that this request
 2     seeks confidential patient information other than Mr. Schmitz, without Dr. Golding being
 3     required to produce said records by a Court. Golding would also like to meet and confer
 4     regarding the time frame and scope of this request. Subject to and without waiving these
 5     objections, Golding responds as follows:
 6            Subject to the determination of the Court on Defendants’ Motion for Protective Order,
 7     Golding will produce non-privileged documents in his possession, custody and control. Golding
 8     has communicated that he has documents related to the Golding Report and the second Golding
 9     Report, as well as materials provided to the agents for the federal court, as well as transcripts and
10     orders of those proceedings. Golding has communicated that he will produce the redacted maters
11     as ordered by the federal court in Coleman related to the first “Golding Report.” The Court in
12     Coleman has not ruled on the proper redactions, if any, for materials produced to the Court in the
13     Second Golding Report. Golding has asked the parties for their positions regarding redactions
14     absent the Colemen Court’s order. Golding would also welcome an in camera review by this
15     Court to determine which records should be produced by Dr. Golding.
16     RESPONSE TO REQUEST FOR PRODUCTION NO. 30:
17             Golding objects to this request on the basis that it is overbroad. Golding objects that the
18     request calls for attorney client privilege and attorney work product. Golding objects that this
19     request calls for a legal conclusion. Golding objects that the request is compound and vague and
20     ambiguous. Golding objects to the extent that this request seeks confidential patient information
21     other than Mr. Schmitz, without Dr. Golding being required to produce said records by a Court.
22     Golding would also like to meet and confer regarding the time frame and scope of this request.
23     Subject to and without waiving these objections, Golding responds as follows:
24            Subject to the determination of the Court on Defendants’ Motion for Protective Order,
25     Golding will produce non-privileged documents in his possession, custody and control. Golding
26     has communicated that he has documents related to the Golding Report and the second Golding
27     Report, as well as materials provided to the agents for the federal court, as well as transcripts and
28     orders of those proceedings. Golding has communicated that he will produce the redacted maters

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 1     as ordered by the federal court in Coleman related to the first “Golding Report.” The Court in
 2     Coleman has not ruled on the proper redactions, if any, for materials produced to the Court in the
 3     Second Golding Report. Golding has asked the parties for their positions regarding redactions
 4     absent the Colemen Court’s order. Golding would also welcome an in camera review by this
 5     Court to determine which records should be produced by Dr. Golding.
 6     RESPONSE TO REQUEST FOR PRODUCTION NO. 32 (erroneously numbered 31):
 7             Golding objects to this request on the basis that it is overbroad. Golding objects that the
 8     request calls for attorney client privilege and attorney work product. Golding objects that this
 9     request calls for a legal conclusion. Golding objects that the request is compound and vague and
10     ambiguous. Golding objects to the extent that this request seeks confidential patient information
11     other than Mr. Schmitz, without Dr. Golding being required to produce said records by a Court.
12     Golding would also like to meet and confer regarding the time frame and scope of this request.
13     Subject to and without waiving these objections, Golding responds as follows:
14            Subject to the determination of the Court on Defendants’ Motion for Protective Order,
15     Golding will produce non-privileged documents in his possession, custody and control. Golding
16     has communicated that he has documents related to the Golding Report and the second Golding
17     Report, as well as materials provided to the agents for the federal court, as well as transcripts and
18     orders of those proceedings. Golding has communicated that he will produce the redacted maters
19     as ordered by the federal court in Coleman related to the first “Golding Report.” The Court in
20     Coleman has not ruled on the proper redactions, if any, for materials produced to the Court in the
21     Second Golding Report. Golding has asked the parties for their positions regarding redactions
22     absent the Colemen Court’s order. Golding would also welcome an in camera review by this
23     Court to determine which records should be produced by Dr. Golding.
24     RESPONSE TO REQUEST FOR PRODUCTION NO. 30:
25             Golding objects to this request on the basis that it is overbroad. Golding objects that the
26     request calls for attorney client privilege and attorney work product. Golding objects that this
27     request calls for a legal conclusion. Golding objects that the request is compound and vague and
28     ambiguous. Golding objects to the extent that this request seeks confidential patient information

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 1     other than Mr. Schmitz, without Dr. Golding being required to produce said records by a Court.
 2     Golding would also like to meet and confer regarding the time frame and scope of this request.
 3     Subject to and without waiving these objections, Golding responds as follows:
 4            Subject to the determination of the Court on Defendants’ Motion for Protective Order,
 5     Golding will produce non-privileged documents in his possession, custody and control. Golding
 6     has communicated that he has documents related to the Golding Report and the second Golding
 7     Report, as well as materials provided to the agents for the federal court, as well as transcripts and
 8     orders of those proceedings. Golding has communicated that he will produce the redacted maters
 9     as ordered by the federal court in Coleman related to the first “Golding Report.” The Court in
10     Coleman has not ruled on the proper redactions, if any, for materials produced to the Court in the
11     Second Golding Report. Golding has asked the parties for their positions regarding redactions
12     absent the Colemen Court’s order. Golding would also welcome an in camera review by this
13     Court to determine which records should be produced by Dr. Golding.
14

15     Dated: December 8, 2023                       Respectfully submitted,
16                                                   LAW OFFICES OF WENDY MUSELL PC

17
                                                     ________________________________
18                                                   Wendy E. Musell
                                                     Attorneys for Michael Golding, MD
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       Michael Golding, MD Response to Request for Production of Documents
       Case No.: 2-20-cv-00195DJC-CKD
       Page 16
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                                          PROOF OF SERVICE
 1
 2
             I am employed in the City of Oakland and County of Alameda, State of California in the
 3   office of a member of the bar of this Court whose direction the following service was made. I am
 4   over the age of 18 and not a party to this action. My business address is The Law Offices of
     Wendy Musell PC, 66 Franklin Street, Suite 300, Oakland, CA 94607. On the date set forth
 5   below, I served the following document(s) described as:
 6              1. Michael Golding, MD Response to Document Subpoena
 7
     On the parties in this action as follows:
 8
      Tami Martin <tami.martin@mcnamaralaw.com>
 9
      Dianne Mallia deedamallia@gmail.com>
10    tsfoot49@gmail.com,
      Maria Zhurnalova-Juppunov <maria.zhurnalova-juppunov@mcnamaralaw.com>,
11   Peter Hirsig <peter.hirsig@mcnamaralaw.com>,
12   Daniel Mayer <daniel.mayer@mcnamaralaw.com>,
     Liesl Swartwood <liesl.swartwood@mcnamaralaw.com>,
13   Heather Permison <heather.permison@mcnamaralaw.com>,
     "Nicholas R. Newman" <Nicholas.Newman@mcnamaralaw.com>
14
15
16
17   [ X] [BY EMAIL] By agreement of the parties, I caused each document to be sent via email in
     Adobe “PDF” format to the following email address(es) and each transmission was complete and
18   without error.
19
20        I declare under penalty of perjury under the laws of the State of California that the foregoing
     is true and correct. Executed on December 8, 2023 at Alameda County, California.
21
                                                                ______________________________
22
                                                                   Maraka Willits
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                                                                                                                Case 2:20-cv-00195-DJC-CKD Document 337 Filed 01/31/24 Page 26 of 26


                                                                                                            1                         PROOF OF SERVICE BY MAIL (C.C.P. §§ 1013a, 2015.5)

                                                                                                            2           I hereby declare that I am a citizen of the United States, am over the age of eighteen years,

                                                                                                            3    and not a party to the within action; my business address is 3480 Buskirk Avenue, Suite 250,

                                                                                                            4    Pleasant Hill, CA 94523.

                                                                                                            5           On this date I served the foregoing JOINT STATEMENT RE MOTION FOR

                                                                                                            6    PROTECTIVE ORDER on the parties in said action, by placing a true copy thereof enclosed in

                                                                                                            7    a sealed envelope addressed as listed below for mailing. I am readily familiar with this firm's

                                                                                                            8    practice of collection and processing correspondence for mailing. Under that practice, it would be

                                                                                                            9    deposited with the United States Postal Service on that same day with postage thereon fully prepaid,
McNAMARA, AMBACHER, WHEELER, HIRSIG & GRAY LLP

                                                 3480 BUSKIRK AVENUE, SUITE 250, PLEASANT HILL, CA 94523




                                                                                                           10    in the United States Post Office mail box at Pleasant Hill, California, addressed as follows:

                                                                                                           11    Plaintiff Pro Per:                                 Plaintiff in Pro Per:
                                                                                                           12    Dianne Mallia                                      Thomas J. Schmitz
                                                                TELEPHONE: (925) 939-5330




                                                                                                                 404 Atkinson Street                                404 Atkinson Street
                                                                   ATTORNEYS AT LAW




                                                                                                           13    Roseville, CA 95678                                Roseville, CA 95678
                                                                                                           14    E-Mail: tsfoot49@gmail.com                         E-Mail: tsfoot49@gmail.com
                                                                                                           15

                                                                                                           16
                                                                                                                        I declare under penalty of perjury under the laws of the State of California that the foregoing
                                                                                                           17
                                                                                                                 is true and correct and that this declaration was executed on January 31, 2024 at Pleasant Hill,
                                                                                                           18
                                                                                                                 California.
                                                                                                           19
                                                                                                           20                                                    /s/ Tami Martin
                                                                                                                                                               __________________________________
                                                                                                           21                                                  Tami Martin

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